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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
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                                                 Case No.: 2:20-cv-10660-AB (AFMx)
12    JAHANGIR CHANGEZI,
13
                      Plaintiff,
                                                 ORDER DISMISSING CIVIL
14                                               ACTION
      v.
15
      HOME DEPOT U.S.A., INC., and
16    DOES 1 to 20,
17                    Defendants.
18
19         THE COURT has been advised that the above-entitled action has been settled. It
20   is therefore ORDERED that this action is hereby dismissed without costs and without
21   prejudice to the right, upon good cause shown within thirty (30) days, to re-open the
22   action if settlement is not consummated. This Court retains full jurisdiction over this
23   action and this Order shall not prejudice any party to this action.
24
25
     Dated: October 12, 2021          _______________________________________
26                                    HONORABLE ANDRÉ BIROTTE JR.
27                                    UNITED STATES DISTRICT JUDGE

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